         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                      Case No. 5D2023-3195
                 LT Case No. 2017-301127-CFDB
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MICHAEL V. HENDERSON,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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3.850 Appeal from the Circuit Court for Volusia County.
Leah R. Case, Judge.

Michael V. Henderson, Florida City, pro se.

Ashley Moody, Attorney General, Tallahassee, and Stephen R.
Putnam, Jr., Assistant Attorney General, Daytona Beach, for
Appellee.

                             August 20, 2024

PER CURIAM.

    AFFIRMED.

MAKAR, JAY, and SOUD, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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